                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )      Case No. 1:11-cr-37
v.                                                    )
                                                      )      MATTICE / LEE
                                                      )
JAMES DAVID POTEETE                                   )


                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 10, 2011.

At the hearing, defendant moved to withdraw his not guilty plea to Counts One, Two and Three of

the fourteen-count Indictment and entered a plea of guilty to Counts One, Two and Three of the

Indictment, in exchange for the undertakings made by the government in the written plea agreement.

On the basis of the record made at the hearing, I find the defendant is fully capable and competent

to enter an informed plea; the plea is made knowingly and with full understanding of each of the

rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; the defendant understands the nature of

the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

One, Two and Three of the Indictment be granted, his plea of guilty to Counts One, Two and Three

of the Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth in

Counts One, Two and Three Indictment, and a decision on whether to accept the plea agreement be

deferred until sentencing. Defendant has been released on bond under appropriate conditions of




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release pending sentencing in this matter without objection. Acceptance of the plea, adjudication

of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved for

the district judge.



                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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